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                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


     NAVY SEAL #1, et al.,

                    Plaintiffs,

                        v.                            Case No. 8:21-cv-2429-SDM-TGW

     JOSEPH R. BIDEN, JR., in his official
     capacity as President of the United
     States, et al.,
                     Defendants.



                   DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                       MOTION TO AMEND COMPLAINT

          Pursuant to Local Rule 3.01, Defendants respectfully submit this memorandum

 in opposition to Plaintiffs’ motion to amend their complaint, ECF No. 49 (“Mot.”).

                                        BACKGROUND

          Plaintiffs filed this lawsuit on October 15, 2021. Their original complaint

 included as “named” plaintiffs eighteen service members, four federal government

 contractor employees, one federal government contractor employer, and no federal

 civilian employees. See Compl. ¶¶ 17–41. These plaintiffs are not identified by name,

 and Plaintiffs have only this week moved for leave to proceed pseudonymously. 1 The



 1
  On November 10, 2021, Plaintiffs informed the Court that such a motion was “forthcoming.” Pls.’
 Reply in Supp. of Mot. for TRO & Prelim. Inj., at 16 n.2, ECF No. 30. On January 21, 2022,
 Plaintiffs informed the Court that such a motion would filed “within one business day.” Pls.’ Supp’l
 Mem. & Renewed Mot. for Prelim. Inj., at 6 n.2, ECF No. 51.
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 lawsuit challenges what Plaintiffs refer to as the “Federal COVID-19 vaccine

 mandate,” which includes an executive order governing federal employees (Executive

 Order 14043), an executive order governing federal contracts (Executive Order 14042),

 and a Department of Defense directive governing members of the Armed Forces. See

 Compl. ¶¶ 50–57; Defs.’ Opp’n to Pls.’ Mot. for a TRO & Prelim Inj. at 4–9, ECF No.

 23 (describing these directives). The original complaint asserts three counts, alleging

 that the “Federal COVID-19 vaccine mandate” violates: (1) the Federal Food, Drug,

 and Cosmetic Act (“FDCA”) (Count I); (2) the First Amendment (Count II), and (3)

 the Religious Freedom Restoration Act (“RFRA”) (Count III). On October 15, 2021,

 Plaintiffs moved for a temporary restraining order and preliminary injunction with

 respect to all counts. ECF No. 2.

        On November 22, 2021, the Court entered an order denying the request for a

 temporary restraining order, denying the motion for a preliminary injunction on all

 counts “for the civilian plaintiffs,” and deferring a ruling on Counts II and III for the

 service-member plaintiffs. Order (“PI Order”) at 34, ECF No. 40.

       On January 20, 2022, Plaintiffs moved for leave to file an amended complaint.

 Plaintiffs seek to “add Plaintiffs similarly situated to existing Plaintiffs, to remove

 Defendant Joseph R. Biden, to add Defendants closely related to existing Defendants

 . . ., and to add claims under the Administrative Procedure Act.” Mot. at 1; see also

 ECF No. 49-1 (redline version of proposed amended complaint). Notwithstanding

 Plaintiffs’ contention that the new proposed plaintiffs are “similarly situated to existing

 Plaintiffs,” the proposed amended complaint seeks to include, for the first time,
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 individuals who allege that they are federal civilian employees. Mot., at 1. On

 January 26, 2022, Plaintiffs filed a motion for leave for all of the plaintiffs in the

 amended complaint to proceed by pseudonym. ECF No. 55. As noted in that filing,

 Defendants intend to file a response in opposition to that motion. Because Plaintiffs

 have not established their entitlement to proceed pseudonymously, the Court should

 deny their motion for leave to file an amended complaint containing additional

 unnamed plaintiffs.

                                 LEGAL STANDARD

       As Plaintiffs recognize, Plaintiffs may only amend their complaint at this

 juncture “with the opposing party’s written consent or the court’s leave.” Fed. R. Civ.

 P. 15(a)(2). While such leave should be “freely” granted “when justice so requires,”

 id., a motion to amend “may be denied on numerous grounds such as undue delay,

 undue prejudice to the defendants, and futility of the amendment.” Fla. Evergreen

 Foliage v. E.I. DuPont De Nemours & Co., 470 F.3d 1036, 1041 (11th Cir. 2006) (quoting

 Brewer-Giorgio v. Producers Video, Inc., 216 F.3d 1281, 1284 (11th Cir. 2000)). “[D]enial

 of leave to amend is justified by futility when the complaint as amended is still subject

 to dismissal.” Hall v. United Ins. Co. of Am., 367 F.3d 1255, 1263 (11th Cir. 2004)

 (citation omitted). The decision whether to grant leave to amend a complaint is

 “within the Court’s discretion.” O’Rear v. Am. Family Life Assurance Co., 139 F.R.D.




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 418, 421 (M.D. Fla. 1991); see also Deegan v. Homestead Police Dep’t, 750 F. App’x 796,

 799 (11th Cir. 2018). 2

                                           ARGUMENT

        Plaintiffs’ motion should be denied because Plaintiffs have again failed to

 comply with Federal Rule 10(a), which requires that every federal court pleading

 “name all the parties.” Fed. R. Civ. P. 10(a).

        “Federal Rule of Civil Procedure 10(a) provides that ‘[e]very pleading’ in federal

 court ‘must name all the parties.’” Doe v. Ocean Reef Cmty. Ass’n, No. 19-10138-CIV-

 MORENO, 2019 WL 5102450, at *1 (S.D. Fla. Oct. 11, 2019). “This rule serves more

 than administrative convenience. It protects the public’s legitimate interest in knowing

 all of the facts involved, including the identities of the parties.” Doe v. Frank, 951 F.2d

 320, 322 (11th Cir. 1992). The Rule thus imposes the burden on a plaintiff to establish

 that he or she “has a substantial privacy right which outweighs the ‘customary and

 constitutionally-embedded presumption of openness in judicial proceedings.’” Id. at

 323 (citation omitted); see also id. (“It is the exceptional case in which a plaintiff may

 proceed under a fictitious name.”).

        Plaintiffs filed this case on October 15, 2021, and did not move for leave to

 proceed anonymously until January 26, 2022. Defendants intend to oppose that


 2
   Plaintiffs incorrectly contend that a “plaintiff must be given at least one chance to amend the
 complaint.” Mot. at 3 (quoting Long v. Satz, 181 F.3d 1275, 1279 (11th Cir. 1999)). But that
 interpretation would confer a right to amend as a matter of course that only exists under Rule 15(a)(1),
 which Plaintiffs acknowledge does not apply here. And in any event, the “rule” Plaintiffs cite requires
 only that where “a more carefully drafted complaint might state a claim,” a plaintiff be “given at least
 one chance to amend the complaint before the district court dismisses the action with prejudice.”
 Long, 181 F.3d at 1279 (quoting Bank v. Pitt, 928 F.2d 1108, 1112 (11th Cir. 1991)).

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 motion because Plaintiffs have not carried their heavy burden of demonstrating why

 this is one of the exceptional cases in which such a procedure should be allowed. See

 Doe v. Raimondo, No. 1:21-mc-127, slip op. at 9 (D.D.C. Oct. 14, 2021), ECF No. 1

 (finding that vaccination status is not “sensitive and highly personal such that it

 warrants anonymity”); Rydie v. Biden, No. 8:21-cv-2696 (D. Md. Nov. 18, 2021), ECF

 No. 24 (denying motion to proceed under pseudonym in challenge to federal

 vaccination requirement); Brnovich v. Biden, No. 2:21-cv-1568 (D. Ariz. Dec. 15, 2021),

 ECF No. 122 (same). Indeed, another court in this Circuit has recently considered

 and rejected a similar motion to proceed anonymously. Coker v. Austin, 3:21-cv-1211

 (N.D. Fla Dec. 1, 2021), ECF No. 49. Unless and until the Court grants Plaintiffs

 permission to proceed under pseudonym, the Court “lack[s] jurisdiction over the

 unnamed parties, as a case has not been commenced with respect to them.” W.N.J. v.

 Yocom, 257 F.3d 1171, 1172 (10th Cir. 2001 (citation omitted); see also Oklahoma v.

 Biden, ---F. Supp. 3d---, 2021 WL 6126230, at *2 (W.D. Okla. Dec. 28, 2021); Estate of

 Rodriguez v. Drummond Co., 256 F. Supp. 2d 1250, 1257 (N.D. Ala. 2003). 3 Because

 Plaintiffs’ proposed amended complaint adds only additional pseudonymous plaintiffs



 3
  Plaintiffs’ jurisdictional deficiency is not remedied by their attempt to proceed as a class. “Federal
 courts do not exercise general legal oversight of the Legislative and Executive Branches, or of private
 entities.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). “[U]nder Article III, a federal
 court may resolve only “a real controversy with real impact on real persons.” Id. But Plaintiffs have
 not even made the basic showing that they are in fact “real persons” much less that they have
 submitted religious accommodation requests to the military and those claims have been
 denied. Accordingly, the Court cannot even entertain the claims or motions currently presented to
 the Court. Id. at 2208 (“Article III does not give federal courts the power to order relief to any
 uninjured plaintiff, class action or not.”) (quoting Tyson Foods, Inc. v. Bouaphakeo, 577 U. S. 442, 466
 (2016) (Roberts, C. J., concurring)).
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 over which this Court lacks jurisdiction, the Court should deny Plaintiffs’ motion. See,

 e.g., Coventry First, LLC v. McCarty, 605 F.3d 865, 870 (11th Cir. 2010) (“A proposed

 amendment may be denied for futility when the complaint as amended would still be

 properly dismissed.” (citation omitted)).

                                       CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ motion for leave to

 file an amended complaint.



 Dated: January 28, 2022                     Respectfully submitted,

 BRIAN M. BOYNTON                            /s/ Amy E. Powell
 Acting Assistant Attorney General           ANDREW E. CARMICHAEL
                                             AMY E. POWELL
 ALEXANDER K. HAAS                           Senior Trial Counsel
 Director, Federal Programs Branch           ZACHARY A. AVALLONE
                                             COURTNEY D. ENLOW
 ANTHONY J. COPPOLINO                        R. CHARLIE MERRITT
 Deputy Director                             Trial Attorneys
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, N.W.
                                             Washington, DC 20005
                                             Tel: (919) 856-4013
                                             Email: amy.powell@usdoj.gov

                                             Counsel for Defendants




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